               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

Atlanta Plumbers and Steamfitters
Health and Welfare Fund, Atlanta
Plumbers and Steamfitters Retiree
Health and Welfare Fund, Atlanta
Plumbers and Steamfitters Pension
Fund, Plumbers and Steamfitters
Local 72 Defined Contribution Fund,
and Terry Newsome, Jr. and Jon
Sterling, as Trustees of said Funds,

                Plaintiffs,

        vs.                                  Case No.: 1:21-cv-03263-ELR

Metropolitan Mechanical, Inc.

                Defendant.


                Plaintiff’s Motion for Entry of Default Judgment

        Plaintiffs Atlanta Plumbers and Steamfitters Health and Welfare Fund,

Atlanta Plumbers and Steamfitters Retiree Health and Welfare Fund, Atlanta

Plumbers and Steamfitters Pension Fund, Plumbers and Steamfitters Local 72

Defined Contribution Fund (collectively, “Funds”), and Terry Newsome, Jr. and

Jon Sterling, as Trustees of the Funds (“Trustees” and, together with the Funds,

“Plaintiffs”) respectfully request that the Court enter a default judgment against

Defendant Metropolitan Mechanical, Inc. (“Defendant”) on the grounds that,

following lawful service of process, Defendant has failed to plead or otherwise
                                        1
17451169v1
respond to Plaintiffs’ Complaint, as provided in Fed. R. Civ. P. 55, and the Clerk of

Court has already entered default against Defendant. In support of their motion,

Plaintiffs rely upon the accompanying memorandum of law and the declarations of

Nicole Firestone and C. Knox Withers.

        January 7, 2022.             Respectfully Submitted,

                                     A RNALL G OLDEN G REGORY LLP

                                     /s/ C. Knox Withers
                                     C. Knox Withers
                                     Georgia Bar No. 142482

                                     Attorneys for Plaintiffs

171 17th Street, N.W., Suite 2100
Atlanta, Georgia 30363-1031
404-873-8129
Knox.Withers@agg.com




                                         2
17451169v1
                                 Certificate of Service

        I certify that, on this date, I served Defendant with a copy of the foregoing

Plaintiffs’ Motion for Entry of Default Judgment by electronic filing and by U.S.

Mail addressed as follows:

                           Howard P. Slomka
                           Howard Slomka P.C.
                           6400 Powers Ferry Road, N.W.
                           Suite 391
                           Atlanta, Georgia 30339

        January 7, 2022.

                                       A RNALL G OLDEN G REGORY LLP


                                       /s/ C. Knox Withers
                                       C. Knox Withers
                                       Georgia Bar No. 142482

                                       Attorneys for Plaintiffs

171 17th Street, N.W., Suite 2100
Atlanta, Georgia 30363-1031
404-873-8129
Knox.Withers@agg.com




17451169v1
